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		OSCN Found Document:RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2020 OK 46Decided: 06/01/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 46, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 


RE: Revocation of Credentials of Registered Courtroom Interpreters

ORDER


On March 1, 2020, this Court suspended the certificates of several Registered Courtroom Interpreters for failure to comply with the continuing education requirements for calendar year 2019 and/or with the annual certificate renewal requirements for 2020. See 2020 OK 15 (SCAD 2020-18).

Pursuant to the Executive Order 2020-07 (as amended), the Chief Justice, authorized that all interpreters, whose licenses were suspended on March 1, 2020, for failure to comply with the renewal requirements for 2020 be given until May 15, 2020 to comply.

The Oklahoma Board of Examiners of Certified Courtroom Interpreters has advised that the interpreters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court, the revocation of the credential of each of these interpreters, effective May 15, 2020, pursuant to 20 O.S., Chapter 23, App. II, Rules 18 and 20.

IT IS THEREFORE ORDERED that the credential of each of the Registered Courtroom Interpreters named below is hereby revoked effective May 15, 2020.


	
		
			
			Alejo Benito
			
			
			Luis Licona
			
		
		
			
			Edna Cervantes
			
			
			Angelica Lopez-Drain
			
		
		
			
			Esperanza Darling
			
			
			Consuelo Reynoso
			
		
		
			
			Elizabeth Esquivel
			
			
			Cynthia Santiesteban
			
		
	


&nbsp;

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 1ST day of JUNE, 2020.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR


&nbsp;





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&nbsp;2020 OK 15, RE SUSPENSION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERSCited


	
	








				
					
					
				

		
		

	
		
			
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